             Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 1 of 70

                                                                                                  INVOICE
                                                                                        From      Texas Appleseed
                                                                                                  1609 Shoal Creek Blvd
                                                                                                  Ste 201
                                                                                                  Austin, TX 78701




Invoice ID        36                                                               Invoice For    Texas DFPS/HHSC
Issue Date        09/09/2022

Due Date          10/09/2022 (Net 30)

Subject           Texas Appleseed Monitoring Team; August
                  2022




Item Type         Description                                                         Quantity          Unit Price              Amount

Service           Texas Foster Care Court Monitoring - Travel (08/01/2022 -             51.67            $214.46            $11,080.98
                  08/31/2022)


Product           Expenses for Texas Foster Care Court Monitoring - Travel               1.00           $1,138.48            $1,138.48
                  (08/01/2022 - 08/31/2022)


Service           Texas Foster Care Monitoring (08/01/2022 - 08/31/2022)             2,387.58            $287.75           $687,031.97


Product           Expenses for Texas Foster Care Monitoring (08/01/2022 -                1.00            $988.65               $988.65
                  08/31/2022)


                                                                                                 Amount Due            $700,240.08




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




                                                             Page 1 of 1
             Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 2 of 70

                                                                                            INVOICE
                                                                                   From     Texas Appleseed
                                                                                            1609 Shoal Creek Blvd
                                                                                            Ste 201
                                                                                            Austin, TX 78701




Invoice ID       36                                                           Invoice For   Texas DFPS/HHSC
Issue Date       09/09/2022

Due Date         10/09/2022 (Net 30)

Subject          Texas Appleseed Monitoring Team; August
                 2022




Item Type        Description                                                     Quantity         Unit Price          Amount

Service          Texas Foster Care Court Monitoring - Travel - 08/15/2022 -         4.75           $162.50           $771.88
                 Travel / Monica Santiago


Service          Texas Foster Care Court Monitoring - Travel - 08/15/2022 -         3.50           $197.50           $691.25
                 Travel / Beth Mitchell


Service          Texas Foster Care Court Monitoring - Travel - 08/15/2022 -         5.25           $325.00          $1,706.25
                 Travel / Shelly Voss


Service          Texas Foster Care Court Monitoring - Travel - 08/15/2022 -         3.50           $125.00           $437.50
                 Travel / Catherine Morris


Service          Texas Foster Care Court Monitoring - Travel - 08/16/2022 -         1.10           $162.50           $178.75
                 Travel / Monica Santiago


Service          Texas Foster Care Court Monitoring - Travel - 08/16/2022 -         1.33           $325.00           $432.25
                 Travel / Kristi Law


Service          Texas Foster Care Court Monitoring - Travel - 08/16/2022 -         0.67           $197.50           $132.33
                 Travel / Beth Mitchell


Service          Texas Foster Care Court Monitoring - Travel - 08/16/2022 -         0.66           $325.00           $214.50
                 Travel / Shelly Voss


Service          Texas Foster Care Court Monitoring - Travel - 08/16/2022 -         0.50           $125.00            $62.50
                 Travel / Catherine Morris




                                                            Page 1 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 3 of 70

Service       Texas Foster Care Court Monitoring - Travel - 08/17/2022 -   0.67   $325.00    $217.75
              Travel / Kristi Law


Service       Texas Foster Care Court Monitoring - Travel - 08/17/2022 -   0.50   $162.50     $81.25
              Travel / Monica Santiago


Service       Texas Foster Care Court Monitoring - Travel - 08/17/2022 -   0.50   $197.50     $98.75
              Travel / Beth Mitchell


Service       Texas Foster Care Court Monitoring - Travel - 08/17/2022 -   0.50   $325.00    $162.50
              Travel / Shelly Voss


Service       Texas Foster Care Court Monitoring - Travel - 08/17/2022 -   0.50   $125.00     $62.50
              Travel / Catherine Morris


Service       Texas Foster Care Court Monitoring - Travel - 08/18/2022 -   0.40   $325.00    $130.00
              Travel / Kristi Law


Service       Texas Foster Care Court Monitoring - Travel - 08/18/2022 -   5.58   $162.50    $906.75
              Travel / Monica Santiago


Service       Texas Foster Care Court Monitoring - Travel - 08/18/2022 -   3.67   $197.50    $724.83
              Travel / Beth Mitchell


Service       Texas Foster Care Court Monitoring - Travel - 08/18/2022 -   5.50   $325.00   $1,787.50
              Travel / Shelly Voss


Service       Texas Foster Care Court Monitoring - Travel - 08/18/2022 -   0.25   $125.00     $31.25
              Travel / Catherine Morris


Service       Texas Foster Care Court Monitoring - Travel - 08/18/2022 -   0.25   $125.00     $31.25
              Travel / Catherine Morris


Service       Texas Foster Care Court Monitoring - Travel - 08/19/2022 -   0.67   $325.00    $217.75
              Travel / Kristi Law


Service       Texas Foster Care Court Monitoring - Travel - 08/19/2022 -   3.50   $125.00    $437.50
              Travel / Catherine Morris


Service       Texas Foster Care Court Monitoring - Travel - 08/22/2022 -   3.50   $197.50    $691.25
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 08/23/2022 -   0.67   $197.50    $132.33
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 08/24/2022 -   0.67   $197.50    $132.33
              Travel / Linda Brooke


Service       Texas Foster Care Court Monitoring - Travel - 08/25/2022 -   3.08   $197.50    $608.30
              Travel / Linda Brooke




                                                         Page 2 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 4 of 70

Product       Expenses for Texas Foster Care Court Monitoring - Travel            1.00   $1,138.48   $1,138.48
              (08/01/2022 - 08/31/2022)


Service       Texas Foster Care Monitoring - 08/01/2022 - Meetings with           1.50    $200.00     $300.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nora
              Sawyer


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                6.50    $200.00    $1,300.00
              Review/Data Analysis/Verification Work / Nora Sawyer


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                2.50    $200.00     $500.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                5.50    $200.00    $1,100.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                6.00    $300.00    $1,800.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 08/01/2022 - Project                 2.00    $300.00     $600.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                3.30    $325.00    $1,072.50
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                2.25    $250.00     $562.50
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                0.25    $250.00      $62.50
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 08/01/2022 - Meetings with           3.00    $120.00     $360.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Anna Farr


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                6.00    $120.00     $720.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                4.25    $325.00    $1,381.25
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                4.00    $325.00    $1,300.00
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                8.00    $395.00    $3,160.00
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 08/01/2022 - Project                 2.00    $395.00     $790.00
              Management & Planning / Linda Brooke




                                                           Page 3 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 5 of 70

Service       Texas Foster Care Monitoring - 08/01/2022 - Meetings with            7.00   $325.00   $2,275.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Viveca
              Martinez


Service       Texas Foster Care Monitoring - 08/01/2022 - Project                  2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                 2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                 4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                 4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                 4.33   $325.00   $1,407.25
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                 2.75   $325.00    $893.75
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                 8.33   $325.00   $2,707.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 08/01/2022 - Meetings with            3.50   $325.00   $1,137.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Kristi Law


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                 5.50   $325.00   $1,787.50
              Review/Data Analysis/Verification Work / Shelly Voss


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                 4.50   $395.00   $1,777.50
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 08/01/2022 - Document                 2.00   $325.00    $650.00
              Review/Data Analysis/Verification Work / Kristi Law


Service       Texas Foster Care Monitoring - 08/02/2022 - Project                  1.42   $395.00    $560.90
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 08/02/2022 - Document                 2.67   $250.00    $667.50
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 08/02/2022 - Document                 6.00   $300.00   $1,800.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 08/02/2022 - Project                  2.00   $300.00    $600.00
              Management & Planning / Monica Benedict




                                                            Page 4 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 6 of 70

Service       Texas Foster Care Monitoring - 08/02/2022 - Meetings with         1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              2.50   $200.00    $500.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              5.50   $200.00   $1,100.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              4.10   $325.00   $1,332.50
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              3.00   $250.00    $750.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              1.50   $250.00    $375.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              3.50   $250.00    $875.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 08/02/2022 - Meetings with         2.17   $200.00    $434.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nora
              Sawyer


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              5.83   $200.00   $1,166.00
              Review/Data Analysis/Verification Work / Nora Sawyer


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              2.00   $325.00    $650.00
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              7.42   $325.00   $2,411.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              1.33   $325.00    $432.25
              Review/Data Analysis/Verification Work / Kristi Law


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              5.00   $120.00    $600.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              5.50   $325.00   $1,787.50
              Review/Data Analysis/Verification Work / Shelly Voss


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              1.50   $395.00    $592.50
              Review/Data Analysis/Verification Work / Beth Mitchell




                                                           Page 5 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 7 of 70

Service       Texas Foster Care Monitoring - 08/02/2022 - Document              3.50   $395.00   $1,382.50
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              8.33   $395.00   $3,290.35
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 08/02/2022 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 08/02/2022 - Meetings with         7.00   $325.00   $2,275.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Viveca
              Martinez


Service       Texas Foster Care Monitoring - 08/02/2022 - Project               1.00   $325.00    $325.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 08/03/2022 - Project               8.00   $325.00   $2,600.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 08/03/2022 - Document              3.00   $200.00    $600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 08/03/2022 - Project               0.83   $200.00    $166.00
              Management & Planning / Adrian Gaspar


Service       Texas Foster Care Monitoring - 08/03/2022 - Document              0.83   $250.00    $207.50
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 08/03/2022 - Meetings with         0.83   $250.00    $207.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 08/03/2022 - Document              0.75   $325.00    $243.75
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 08/03/2022 - Meetings with         1.00   $300.00    $300.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Monica
              Benedict


Service       Texas Foster Care Monitoring - 08/03/2022 - Document              5.00   $300.00   $1,500.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 08/03/2022 - Project               1.50   $300.00    $450.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 08/03/2022 - Document              5.17   $250.00   $1,292.50
              Review/Data Analysis/Verification Work / Shay Price




                                                           Page 6 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 8 of 70

Service       Texas Foster Care Monitoring - 08/03/2022 - Document                 2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 08/03/2022 - Meetings with            0.75   $200.00    $150.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nora
              Sawyer


Service       Texas Foster Care Monitoring - 08/03/2022 - Document                 7.25   $200.00   $1,450.00
              Review/Data Analysis/Verification Work / Nora Sawyer


Service       Texas Foster Care Monitoring - 08/03/2022 - Meetings with            0.72   $325.00    $234.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Victoria
              Foster


Service       Texas Foster Care Monitoring - 08/03/2022 - Document                 6.67   $325.00   $2,167.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 08/03/2022 - Meetings with            1.00   $325.00    $325.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 08/03/2022 - Meetings with            0.80   $325.00    $260.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Kristi Law


Service       Texas Foster Care Monitoring - 08/03/2022 - Document                 5.00   $120.00    $600.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 08/03/2022 - Document                 8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 08/03/2022 - Meetings with            1.50   $325.00    $487.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shelly
              Voss


Service       Texas Foster Care Monitoring - 08/03/2022 - Meetings with            1.75   $395.00    $691.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 08/03/2022 - Project                  0.50   $395.00    $197.50
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 08/03/2022 - Document                 7.25   $395.00   $2,863.75
              Review/Data Analysis/Verification Work / Linda Brooke




                                                            Page 7 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 9 of 70

Service       Texas Foster Care Monitoring - 08/03/2022 - Meetings with         1.00   $425.00    $425.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 08/03/2022 - Document              0.83   $250.00    $207.50
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 08/03/2022 - Document              1.00   $395.00    $395.00
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 08/03/2022 - Document              4.17   $200.00    $834.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 08/04/2022 - Document              7.75   $200.00   $1,550.00
              Review/Data Analysis/Verification Work / Nora Sawyer


Service       Texas Foster Care Monitoring - 08/04/2022 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 08/04/2022 - Meetings with         0.50   $300.00    $150.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Monica
              Benedict


Service       Texas Foster Care Monitoring - 08/04/2022 - Project               2.00   $300.00    $600.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 08/04/2022 - Document              5.50   $300.00   $1,650.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 08/04/2022 - Meetings with         0.50   $325.00    $162.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 08/04/2022 - Document              8.08   $325.00   $2,626.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 08/04/2022 - Meetings with         0.25   $200.00     $50.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nora
              Sawyer


Service       Texas Foster Care Monitoring - 08/04/2022 - Document              1.00   $325.00    $325.00
              Review/Data Analysis/Verification Work / Kristi Law


Service       Texas Foster Care Monitoring - 08/04/2022 - Document              9.00   $120.00   $1,080.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 08/04/2022 - Document              7.75   $325.00   $2,518.75
              Review/Data Analysis/Verification Work / Clarice Rogers



                                                           Page 8 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 10 of 70

Service        Texas Foster Care Monitoring - 08/04/2022 - Document              0.75   $325.00    $243.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/04/2022 - Document              1.75   $325.00    $568.75
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 08/04/2022 - Document              1.00   $395.00    $395.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/04/2022 - Meetings with         2.00   $395.00    $790.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 08/04/2022 - Document              7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/04/2022 - Document              2.75   $325.00    $893.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/04/2022 - Document              0.67   $250.00    $167.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/04/2022 - Document              0.33   $250.00     $82.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/04/2022 - Document              0.25   $250.00     $62.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/04/2022 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/04/2022 - Meetings with         0.75   $425.00    $318.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/04/2022 - Meetings with         0.67   $425.00    $284.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/04/2022 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/04/2022 - Project               4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/05/2022 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Nora Sawyer




                                                            Page 9 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 11 of 70

Service        Texas Foster Care Monitoring - 08/05/2022 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 08/05/2022 - Document                 9.00   $120.00   $1,080.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/05/2022 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 08/05/2022 - Meetings with            2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 08/05/2022 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 08/05/2022 - Meetings with            1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 08/05/2022 - Project                  0.75   $395.00    $296.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/05/2022 - Document                 6.00   $395.00   $2,370.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/05/2022 - Document                 3.50   $300.00   $1,050.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/05/2022 - Project                  2.50   $300.00    $750.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/05/2022 - Document                 2.25   $325.00    $731.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/05/2022 - Document                 2.75   $325.00    $893.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/05/2022 - Document                 8.08   $325.00   $2,626.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/05/2022 - Document                 6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Shay Price




                                                            Page 10 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 12 of 70

Service        Texas Foster Care Monitoring - 08/05/2022 - Meetings with           1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 08/05/2022 - Document                1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/05/2022 - Document                7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/05/2022 - Document                4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/06/2022 - Document                3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/06/2022 - Document                1.08   $250.00    $270.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/07/2022 - Document                4.50   $395.00   $1,777.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/07/2022 - EVE/WKND                2.50   $425.00   $1,062.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/07/2022 - Project                 4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/08/2022 - Project                 6.00   $325.00   $1,950.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/08/2022 - Document                2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/08/2022 - Meetings with           1.17   $395.00    $462.15
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 08/08/2022 - Project                 2.00   $395.00    $790.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/08/2022 - Document                7.17   $395.00   $2,832.15
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/08/2022 - Meetings with           0.67   $325.00    $217.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster




                                                            Page 11 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 13 of 70

Service        Texas Foster Care Monitoring - 08/08/2022 - Document                3.50   $300.00   $1,050.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/08/2022 - Project                 4.00   $300.00   $1,200.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/08/2022 - Document                2.50   $325.00    $812.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/08/2022 - Document                8.42   $325.00   $2,736.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/08/2022 - Document                2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/08/2022 - Document                1.17   $250.00    $292.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/08/2022 - Meetings with           0.58   $250.00    $145.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 08/08/2022 - Document                9.00   $120.00   $1,080.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/08/2022 - Document                8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/08/2022 - Document                0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/08/2022 - Meetings with           0.66   $325.00    $214.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 08/08/2022 - EVE/WKND                1.50   $425.00    $637.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/08/2022 - Meetings with           1.67   $395.00    $659.65
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 08/08/2022 - Document                2.00   $395.00    $790.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/08/2022 - Document                8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody




                                                            Page 12 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 14 of 70

Service        Texas Foster Care Monitoring - 08/09/2022 - Document        7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/09/2022 - Project         1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        1.75   $325.00    $568.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        3.50   $120.00    $420.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        1.50   $120.00    $180.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        1.50   $120.00    $180.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/09/2022 - Report and      8.00   $325.00   $2,600.00
               Document Preparation / Kristi Law


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/09/2022 - Project         2.25   $395.00    $888.75
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        7.58   $395.00   $2,994.10
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        0.50   $200.00    $100.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        1.75   $395.00    $691.25
               Review/Data Analysis/Verification Work / Beth Mitchell




                                                          Page 13 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 15 of 70

Service        Texas Foster Care Monitoring - 08/09/2022 - Document        2.00   $395.00    $790.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        3.50   $200.00    $700.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/09/2022 - Project         3.00   $325.00    $975.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/09/2022 - Document        3.00   $325.00    $975.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/10/2022 - Project         3.00   $300.00    $900.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        0.25   $325.00     $81.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        8.33   $325.00   $2,707.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        6.50   $120.00    $780.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/10/2022 - Report and      6.00   $325.00   $1,950.00
               Document Preparation / Kristi Law


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        0.75   $250.00    $187.50
               Review/Data Analysis/Verification Work / Catherine Morris




                                                         Page 14 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 16 of 70

Service        Texas Foster Care Monitoring - 08/10/2022 - Document        1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        0.75   $325.00    $243.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        9.00   $395.00   $3,555.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/10/2022 - Project         1.75   $395.00    $691.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        5.58   $395.00   $2,204.10
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/10/2022 - Project         0.50   $200.00    $100.00
               Management & Planning / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/10/2022 - Project         2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/10/2022 - Document        6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/11/2022 - Document        0.96   $300.00    $288.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/11/2022 - Document        9.00   $120.00   $1,080.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/11/2022 - Document        8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/11/2022 - Document        1.18   $300.00    $354.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/11/2022 - Document        4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Monica Santiago




                                                          Page 15 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 17 of 70

Service        Texas Foster Care Monitoring - 08/11/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/11/2022 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/11/2022 - Document              7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/11/2022 - Report and            6.00   $325.00   $1,950.00
               Document Preparation / Kristi Law


Service        Texas Foster Care Monitoring - 08/11/2022 - Document              7.50   $250.00   $1,875.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/11/2022 - Document              3.50   $325.00   $1,137.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 08/11/2022 - Meetings with         2.72   $325.00    $884.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 08/11/2022 - Project               1.17   $395.00    $462.15
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/11/2022 - Document              8.00   $395.00   $3,160.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/11/2022 - Document              8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/11/2022 - Document              0.75   $395.00    $296.25
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/11/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 08/11/2022 - Document              4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/11/2022 - Document              4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/11/2022 - Project               4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/11/2022 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              9.00   $120.00   $1,080.00
               Review/Data Analysis/Verification Work / Anna Farr


                                                           Page 16 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 18 of 70

Service        Texas Foster Care Monitoring - 08/12/2022 - Document              0.66   $300.00    $198.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              0.78   $300.00    $234.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/12/2022 - Report and            4.00   $325.00   $1,300.00
               Document Preparation / Kristi Law


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              5.75   $325.00   $1,868.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/12/2022 - Project               2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              0.42   $250.00    $105.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              5.50   $250.00   $1,375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              7.50   $325.00   $2,437.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              7.00   $395.00   $2,765.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/12/2022 - Meetings with         0.50   $425.00    $212.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              2.33   $395.00    $920.35
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


                                                           Page 17 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 19 of 70

Service        Texas Foster Care Monitoring - 08/12/2022 - Document              2.00   $200.00    $400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/12/2022 - Document              5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/13/2022 - EVE/WKND              6.00   $425.00   $2,550.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/13/2022 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/14/2022 - Document              1.07   $300.00    $321.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/14/2022 - Document              0.56   $300.00    $168.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/14/2022 - Document              0.99   $300.00    $297.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/14/2022 - EVE/WKND              5.50   $425.00   $2,337.50
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/14/2022 - Document              1.25   $325.00    $406.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/14/2022 - Document              1.25   $395.00    $493.75
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/15/2022 - Document              8.24   $200.00   $1,648.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/15/2022 - Document              1.23   $300.00    $369.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/15/2022 - Document              0.56   $300.00    $168.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/15/2022 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/15/2022 - Meetings with         1.50   $300.00    $450.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 08/15/2022 - Project               1.50   $300.00    $450.00
               Management & Planning / Monica Benedict




                                                           Page 18 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 20 of 70

Service        Texas Foster Care Monitoring - 08/15/2022 - Document                 5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/15/2022 - Meetings with            1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/15/2022 - Document                 3.00   $425.00   $1,275.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 08/15/2022 - Meetings with            1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 08/15/2022 - Meetings with            1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 08/15/2022 - Document                 4.58   $325.00   $1,488.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/15/2022 - Document                 2.15   $325.00    $698.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/15/2022 - Meetings with            1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 08/15/2022 - Meetings with            1.50   $395.00    $592.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 08/15/2022 - Document                 3.33   $395.00   $1,315.35
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/15/2022 - Document                 9.00   $120.00   $1,080.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/15/2022 - Document                 8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/15/2022 - Meetings with            1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss




                                                            Page 19 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 21 of 70

Service        Texas Foster Care Monitoring - 08/15/2022 - Meetings with           1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 08/15/2022 - Document                1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/15/2022 - Document                2.17   $250.00    $542.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/15/2022 - Document                0.25   $250.00     $62.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/15/2022 - Document                7.50   $395.00   $2,962.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/15/2022 - Project                 1.00   $395.00    $395.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/15/2022 - Meetings with           1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 08/15/2022 - Project                 8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                0.30   $300.00     $90.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                0.36   $300.00    $108.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 08/16/2022 - Meetings with           1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 08/16/2022 - Project                 2.50   $300.00    $750.00
               Management & Planning / Monica Benedict




                                                            Page 20 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 22 of 70

Service        Texas Foster Care Monitoring - 08/16/2022 - Document                  5.50   $300.00   $1,650.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                  8.08   $325.00   $2,626.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                  5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                  1.00   $200.00    $200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                  8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                 14.82   $325.00   $4,816.50
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/16/2022 - Meetings with             1.92   $325.00    $624.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 08/16/2022 - Meetings with            11.67   $325.00   $3,792.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                 12.83   $395.00   $5,067.85
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                  6.00   $120.00    $720.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                  8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                 12.84   $325.00   $4,173.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                 12.83   $250.00   $3,207.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/16/2022 - Meetings with             1.50   $395.00    $592.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 08/16/2022 - Project                   1.75   $395.00    $691.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                  6.00   $395.00   $2,370.00
               Review/Data Analysis/Verification Work / Linda Brooke




                                                            Page 21 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 23 of 70

Service        Texas Foster Care Monitoring - 08/16/2022 - Document                  2.00   $200.00    $400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/16/2022 - Project                   4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/16/2022 - Document                  4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                  8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                  0.67   $300.00    $201.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                  1.00   $200.00    $200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                  7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                  5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/17/2022 - Meetings with             9.25   $325.00   $3,006.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                  9.75   $325.00   $3,168.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                  9.75   $395.00   $3,851.25
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                  6.00   $120.00    $720.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                  8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                 12.84   $325.00   $4,173.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 08/17/2022 - Project                   7.00   $250.00   $1,750.00
               Management & Planning / Shay Price


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                  7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                  9.83   $250.00   $2,457.50
               Review/Data Analysis/Verification Work / Catherine Morris




                                                            Page 22 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 24 of 70

Service        Texas Foster Care Monitoring - 08/17/2022 - Document                 0.17   $250.00     $42.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/17/2022 - Project                  2.50   $395.00    $987.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                 6.17   $395.00   $2,437.15
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/17/2022 - Meetings with            0.80   $395.00    $316.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 08/17/2022 - Project                  6.00   $325.00   $1,950.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/17/2022 - Document                 2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/18/2022 - Document                 0.47   $300.00    $141.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/18/2022 - Document                 0.59   $300.00    $177.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/18/2022 - Project                  1.33   $200.00    $266.00
               Management & Planning / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/18/2022 - Document                 6.67   $200.00   $1,334.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/18/2022 - Meetings with            1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/18/2022 - Document                 0.78   $300.00    $234.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/18/2022 - Meetings with            7.00   $325.00   $2,275.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 08/18/2022 - Document                 2.25   $325.00    $731.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/18/2022 - Document                 5.67   $395.00   $2,239.65
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/18/2022 - Document                 9.00   $120.00   $1,080.00
               Review/Data Analysis/Verification Work / Anna Farr



                                                            Page 23 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 25 of 70

Service        Texas Foster Care Monitoring - 08/18/2022 - Meetings with         2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 08/18/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/18/2022 - Document              2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 08/18/2022 - Meetings with         0.75   $425.00    $318.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/18/2022 - Project               7.00   $250.00   $1,750.00
               Management & Planning / Shay Price


Service        Texas Foster Care Monitoring - 08/18/2022 - Document              8.75   $325.00   $2,843.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/18/2022 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/18/2022 - Meetings with         2.42   $395.00    $955.90
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 08/18/2022 - Project               1.00   $395.00    $395.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/18/2022 - Document              6.75   $395.00   $2,666.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/18/2022 - Document              5.50   $200.00   $1,100.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/18/2022 - Project               0.50   $200.00    $100.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/18/2022 - Project               2.00   $200.00    $400.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/18/2022 - Document              5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/18/2022 - Project               3.00   $325.00    $975.00
               Management & Planning / Viveca Martinez




                                                           Page 24 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 26 of 70

Service        Texas Foster Care Monitoring - 08/19/2022 - Document                 1.25   $300.00    $375.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/19/2022 - Document                 0.52   $300.00    $156.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/19/2022 - Document                 4.43   $200.00    $886.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/19/2022 - Document                 1.00   $120.00    $120.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/19/2022 - Document                 6.00   $120.00    $720.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/19/2022 - Document                 3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/19/2022 - Meetings with            1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 08/19/2022 - Meetings with            2.00   $200.00    $400.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 08/19/2022 - Document                 1.29   $300.00    $387.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/19/2022 - Document                 7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/19/2022 - Document                 2.50   $325.00    $812.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/19/2022 - Document                 0.50   $325.00    $162.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 08/19/2022 - Meetings with            1.33   $325.00    $432.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 08/19/2022 - Project                  6.00   $250.00   $1,500.00
               Management & Planning / Shay Price


Service        Texas Foster Care Monitoring - 08/19/2022 - Document                 8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/19/2022 - Document                 1.25   $325.00    $406.25
               Review/Data Analysis/Verification Work / Monica Santiago



                                                            Page 25 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 27 of 70

Service        Texas Foster Care Monitoring - 08/19/2022 - Document              1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/19/2022 - Project               1.08   $395.00    $426.60
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/19/2022 - Document              7.33   $395.00   $2,895.35
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/19/2022 - Meetings with         1.08   $395.00    $426.60
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 08/19/2022 - Project               1.00   $200.00    $200.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/19/2022 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/19/2022 - Document              2.17   $395.00    $857.15
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/19/2022 - Project               6.00   $325.00   $1,950.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/20/2022 - Document              0.35   $300.00    $105.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/20/2022 - Document              0.62   $300.00    $186.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/20/2022 - EVE/WKND              0.12   $300.00     $36.00
               Meetings with agency leadership, staff, clients, conference
               calls, time spent with team, plaintiffs consultants or other
               providers. / Robert McManus


Service        Texas Foster Care Monitoring - 08/20/2022 - EVE/WKND              7.00   $425.00   $2,975.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/21/2022 - Document              0.65   $300.00    $195.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/21/2022 - Document              0.19   $300.00     $57.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/21/2022 - Document              0.78   $300.00    $234.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/21/2022 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Deborah Borman



                                                           Page 26 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 28 of 70

Service        Texas Foster Care Monitoring - 08/21/2022 - EVE/WKND        6.00   $425.00   $2,550.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/21/2022 - Document        2.17   $325.00    $705.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/21/2022 - Document        0.25   $250.00     $62.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/21/2022 - Document        3.50   $395.00   $1,382.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/21/2022 - Project         1.00   $395.00    $395.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/22/2022 - Document        5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/22/2022 - Document        0.99   $300.00    $297.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/22/2022 - Document        0.93   $300.00    $279.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/22/2022 - Project         2.50   $200.00    $500.00
               Management & Planning / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/22/2022 - Document        0.50   $425.00    $212.50
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 08/22/2022 - Document        1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 08/22/2022 - Document        0.35   $300.00    $105.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/22/2022 - Document        5.70   $325.00   $1,852.50
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/22/2022 - Document        0.15   $300.00     $45.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/22/2022 - Document        9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/22/2022 - Project         1.00   $325.00    $325.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/22/2022 - Document        6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Victoria Foster




                                                          Page 27 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 29 of 70

Service        Texas Foster Care Monitoring - 08/22/2022 - Project                 3.00   $300.00    $900.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/22/2022 - Document                5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/22/2022 - Document                6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 08/22/2022 - Document                3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/22/2022 - Document                6.00   $120.00    $720.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/22/2022 - Document                6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/22/2022 - Document                8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/22/2022 - Document                8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 08/22/2022 - Meetings with           0.15   $325.00     $48.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 08/22/2022 - Document                7.50   $325.00   $2,437.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 08/22/2022 - Document                3.75   $395.00   $1,481.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/22/2022 - Document                6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/22/2022 - Meetings with           0.08   $250.00     $20.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 08/22/2022 - Document                6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/22/2022 - Document                4.17   $395.00   $1,647.15
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/22/2022 - Document                2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Viveca Martinez




                                                            Page 28 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 30 of 70

Service        Texas Foster Care Monitoring - 08/22/2022 - Project        4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       0.25   $300.00     $75.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       0.65   $300.00    $195.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       0.55   $300.00    $165.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       0.22   $300.00     $66.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       0.12   $300.00     $36.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       0.64   $300.00    $192.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       0.53   $300.00    $159.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       0.33   $300.00     $99.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       3.50   $325.00   $1,137.50
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       0.28   $300.00     $84.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/23/2022 - Project        3.00   $300.00    $900.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 08/23/2022 - Project        0.50   $325.00    $162.50
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/23/2022 - Document       8.75   $120.00   $1,050.00
               Review/Data Analysis/Verification Work / Anna Farr




                                                         Page 29 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 31 of 70

Service        Texas Foster Care Monitoring - 08/23/2022 - Document               3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/23/2022 - Document               8.75   $250.00   $2,187.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/23/2022 - Document               8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/23/2022 - Document              10.67   $200.00   $2,134.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/23/2022 - Document               2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/23/2022 - Document               8.75   $250.00   $2,187.50
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 08/23/2022 - Document               1.58   $325.00    $513.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/23/2022 - Document               6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 08/23/2022 - Document               8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 08/23/2022 - Document              10.25   $395.00   $4,048.75
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/23/2022 - Document               4.58   $250.00   $1,145.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/23/2022 - Document               3.50   $200.00    $700.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/23/2022 - Document               8.75   $200.00   $1,750.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/23/2022 - Meetings with          1.50   $425.00    $637.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/23/2022 - Document               2.50   $395.00    $987.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/23/2022 - Document              12.42   $325.00   $4,036.50
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/24/2022 - Document               9.75   $250.00   $2,437.50
               Review/Data Analysis/Verification Work / Mahiri Moody


                                                           Page 30 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 32 of 70

Service        Texas Foster Care Monitoring - 08/24/2022 - Document                  0.65   $300.00    $195.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/24/2022 - Document                  0.31   $300.00     $93.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/24/2022 - Document                  0.34   $300.00    $102.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/24/2022 - Document                  1.88   $300.00    $564.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/24/2022 - Document                  0.33   $300.00     $99.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/24/2022 - Document                  1.05   $300.00    $315.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/24/2022 - Document                  5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/24/2022 - Project                   1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/24/2022 - Document                  6.50   $120.00    $780.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/24/2022 - Document                 10.00   $250.00   $2,500.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/24/2022 - Document                  8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/24/2022 - Document                 10.00   $200.00   $2,000.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/24/2022 - Document                  4.17   $325.00   $1,355.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/24/2022 - Meetings with             1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 08/24/2022 - Document                  4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 08/24/2022 - Report and                6.50   $325.00   $2,112.50
               Document Preparation / Shelly Voss




                                                            Page 31 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 33 of 70

Service        Texas Foster Care Monitoring - 08/24/2022 - Meetings with          0.75   $325.00    $243.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 08/24/2022 - Document              11.17   $395.00   $4,412.15
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/24/2022 - Document               8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/24/2022 - Document               0.67   $250.00    $167.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/24/2022 - Document               5.42   $250.00   $1,355.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/24/2022 - Document               0.33   $250.00     $82.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/24/2022 - Document               0.67   $250.00    $167.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/24/2022 - Document              10.00   $200.00   $2,000.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/24/2022 - EVE/WKND               0.75   $425.00    $318.75
               Meetings with agency leadership, staff, clients, conference
               calls, time spent with team, plaintiffs consultants or other
               providers. / Deborah Fowler


Service        Texas Foster Care Monitoring - 08/24/2022 - Document               3.42   $395.00   $1,350.90
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/24/2022 - Document              10.00   $325.00   $3,250.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/25/2022 - Document               0.22   $300.00     $66.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/25/2022 - Document               1.10   $300.00    $330.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/25/2022 - Document               0.35   $300.00    $105.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/25/2022 - Document               0.87   $300.00    $261.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/25/2022 - Document               1.82   $300.00    $546.00
               Review/Data Analysis/Verification Work / Robert McManus




                                                           Page 32 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 34 of 70

Service        Texas Foster Care Monitoring - 08/25/2022 - Document        0.63   $300.00    $189.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/25/2022 - Project         2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        6.50   $120.00    $780.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        8.25   $250.00   $2,062.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        8.25   $200.00   $1,650.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        7.50   $250.00   $1,875.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        2.50   $325.00    $812.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/25/2022 - Report and      4.50   $325.00   $1,462.50
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        9.25   $395.00   $3,653.75
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        7.50   $325.00   $2,437.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        0.17   $250.00     $42.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/25/2022 - Document        0.92   $250.00    $230.00
               Review/Data Analysis/Verification Work / Catherine Morris




                                                          Page 33 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 35 of 70

Service        Texas Foster Care Monitoring - 08/25/2022 - Document                 0.17   $250.00     $42.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/25/2022 - Document                 3.33   $250.00    $832.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/25/2022 - Document                 8.25   $200.00   $1,650.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/25/2022 - Document                 3.25   $395.00   $1,283.75
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/25/2022 - Document                 4.33   $395.00   $1,710.35
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 08/25/2022 - Document                 8.25   $325.00   $2,681.25
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/26/2022 - Document                 1.47   $300.00    $441.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/26/2022 - Document                 8.25   $120.00    $990.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/26/2022 - Document                 0.35   $300.00    $105.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/26/2022 - Document                 4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/26/2022 - Document                 1.58   $200.00    $316.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/26/2022 - Document                 5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 08/26/2022 - Document                 4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/26/2022 - Project                  2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/26/2022 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 08/26/2022 - Document                 4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 08/26/2022 - Document                 1.00   $120.00    $120.00
               Review/Data Analysis/Verification Work / Anna Farr




                                                            Page 34 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 36 of 70

Service        Texas Foster Care Monitoring - 08/26/2022 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/26/2022 - Document              6.07   $325.00   $1,972.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/26/2022 - Meetings with         8.50   $325.00   $2,762.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 08/26/2022 - Project               8.00   $395.00   $3,160.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/26/2022 - Document              0.08   $300.00     $24.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/26/2022 - Document              1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/26/2022 - Document              0.92   $250.00    $230.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/26/2022 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/26/2022 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/26/2022 - Document              4.58   $250.00   $1,145.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/26/2022 - Document              1.50   $200.00    $300.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/26/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/26/2022 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/26/2022 - Project               4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/27/2022 - Project               0.83   $395.00    $327.85
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/27/2022 - Document              1.48   $300.00    $444.00
               Review/Data Analysis/Verification Work / Robert McManus




                                                           Page 35 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 37 of 70

Service        Texas Foster Care Monitoring - 08/27/2022 - EVE/WKND              7.00   $425.00   $2,975.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/27/2022 - Document              4.42   $250.00   $1,105.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/28/2022 - Document              0.42   $300.00    $126.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/28/2022 - Document              0.37   $300.00    $111.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/28/2022 - Document              0.07   $300.00     $21.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/28/2022 - EVE/WKND              6.00   $425.00   $2,550.00
               Document Review/Data Analysis/Verification Work / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 08/28/2022 - Document              3.42   $395.00   $1,350.90
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/29/2022 - Meetings with         2.00   $250.00    $500.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 08/29/2022 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/29/2022 - Document              4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/29/2022 - Document              4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/29/2022 - Document              6.50   $325.00   $2,112.50
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/29/2022 - Meetings with         1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 08/29/2022 - Project               4.50   $395.00   $1,777.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/29/2022 - Document              4.00   $395.00   $1,580.00
               Review/Data Analysis/Verification Work / Linda Brooke




                                                           Page 36 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 38 of 70

Service        Texas Foster Care Monitoring - 08/29/2022 - Report and              4.00   $325.00   $1,300.00
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 08/29/2022 - Meetings with           0.75   $325.00    $243.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 08/29/2022 - Document                6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/29/2022 - Project                 2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/29/2022 - Document                7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/29/2022 - Document                1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/29/2022 - Document                8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/29/2022 - Document                8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 08/29/2022 - Document                0.75   $325.00    $243.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/29/2022 - Document                5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/29/2022 - Document                8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/29/2022 - Document                6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 08/29/2022 - Document                4.92   $250.00   $1,230.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/29/2022 - Meetings with           0.67   $250.00    $167.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 08/29/2022 - Document                0.17   $250.00     $42.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/29/2022 - Project                 8.00   $325.00   $2,600.00
               Management & Planning / Viveca Martinez




                                                            Page 37 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 39 of 70

Service        Texas Foster Care Monitoring - 08/30/2022 - Document              0.68   $300.00    $204.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/30/2022 - Document              0.46   $300.00    $138.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/30/2022 - Document              1.07   $300.00    $321.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/30/2022 - Document              5.50   $200.00   $1,100.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/30/2022 - Project               2.50   $200.00    $500.00
               Management & Planning / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/30/2022 - Project               2.50   $200.00    $500.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/30/2022 - Project               0.75   $200.00    $150.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/30/2022 - Report and            6.00   $325.00   $1,950.00
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 08/30/2022 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 08/30/2022 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/30/2022 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 08/30/2022 - Document              5.50   $325.00   $1,787.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/30/2022 - Project               2.00   $200.00    $400.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/30/2022 - Document              2.75   $200.00    $550.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 08/30/2022 - Meetings with         3.17   $395.00   $1,252.15
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 08/30/2022 - Document              4.08   $395.00   $1,611.60
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/30/2022 - Project               1.17   $395.00    $462.15
               Management & Planning / Linda Brooke


                                                           Page 38 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 40 of 70

Service        Texas Foster Care Monitoring - 08/30/2022 - Document        5.25   $325.00   $1,706.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/30/2022 - Document        8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/30/2022 - Document        8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 08/30/2022 - Document        5.25   $325.00   $1,706.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/30/2022 - Document        5.00   $120.00    $600.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/30/2022 - Document        3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/30/2022 - Document        6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 08/30/2022 - Document        6.67   $250.00   $1,667.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/30/2022 - Document        0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/30/2022 - Document        6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/30/2022 - Project         3.00   $325.00    $975.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 08/31/2022 - Document        0.96   $300.00    $288.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/31/2022 - Document        8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 08/31/2022 - Document        0.72   $300.00    $216.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/31/2022 - Document        0.59   $300.00    $177.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/31/2022 - Document        1.16   $300.00    $348.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 08/31/2022 - Document        5.50   $300.00   $1,650.00
               Review/Data Analysis/Verification Work / Monica Benedict




                                                          Page 39 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 41 of 70

Service        Texas Foster Care Monitoring - 08/31/2022 - Project                2.50   $300.00    $750.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 08/31/2022 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 08/31/2022 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 08/31/2022 - Document               5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 08/31/2022 - Meetings with          1.42   $325.00    $461.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 08/31/2022 - Document               8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 08/31/2022 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 08/31/2022 - Document               2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 08/31/2022 - Document               8.33   $395.00   $3,290.35
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 08/31/2022 - Project                1.67   $395.00    $659.65
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 08/31/2022 - Report and             2.00   $325.00    $650.00
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 08/31/2022 - Meetings with          1.42   $325.00    $461.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 08/31/2022 - Document               3.52   $325.00   $1,144.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 08/31/2022 - Document               2.83   $250.00    $707.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/31/2022 - Document               1.67   $250.00    $417.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 08/31/2022 - Document               8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers




                                                            Page 40 of 41
          Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 42 of 70

Service           Texas Foster Care Monitoring - 08/31/2022 - Project                    4.00            $200.00               $800.00
                  Management & Planning / Adrian Gaspar


Service           Texas Foster Care Monitoring - 08/31/2022 - Document                   4.00            $200.00               $800.00
                  Review/Data Analysis/Verification Work / Adrian Gaspar


Service           Texas Foster Care Monitoring - 08/31/2022 - Document                   4.00            $325.00             $1,300.00
                  Review/Data Analysis/Verification Work / Viveca Martinez


Service           Texas Foster Care Monitoring - 08/31/2022 - Project                    4.00            $325.00             $1,300.00
                  Management & Planning / Viveca Martinez


Product           Expenses for Texas Foster Care Monitoring (08/01/2022 -                1.00            $988.65               $988.65
                  08/31/2022)


                                                                                                 Amount Due            $700,240.08




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




                                                            Page 41 of 41
           Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 43 of 70

Expense report for                                                 Texas Appleseed
Invoice 36

08/18/2022                             $211.77

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Shelly Voss
2 of three nights




                                           Page 1 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 44 of 70




                              Page 2 of 28
           Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 45 of 70
08/23/2022                               $8.55

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
HHH Site Visit




                                           Page 3 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 46 of 70




                              Page 4 of 28
           Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 47 of 70
08/23/2022                             $113.63

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
HHH Site Visit




                                           Page 5 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 48 of 70




                              Page 6 of 28
           Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 49 of 70
08/24/2022                              $10.20

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
HHH Site Visit




                                           Page 7 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 50 of 70




                              Page 8 of 28
           Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 51 of 70
08/24/2022                              $12.99

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
HHH Site Visit




                                           Page 9 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 52 of 70




                             Page 10 of 28
           Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 53 of 70
08/24/2022                              $18.24

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Viveca Martinez
HHH Site Visit




                                          Page 11 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 54 of 70




                             Page 12 of 28
           Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 55 of 70
08/25/2022                                $233.13

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Linda Brooke
Travel to Austin, Helping Hands for Children- to
and from hotel and return home travel. [373.0
miles]


08/25/2022                                 $53.41

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Meals
Person    Linda Brooke
Meal and team water/snack on site for 8/23
through 8/25




                                              Page 13 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 56 of 70




                             Page 14 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 57 of 70




                             Page 15 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 58 of 70




                             Page 16 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 59 of 70




                             Page 17 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 60 of 70




                             Page 18 of 28
           Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 61 of 70
08/25/2022                               $460.41

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Linda Brooke
Hotel for LB_ Helping Hands for Children on site




                                             Page 19 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 62 of 70




                             Page 20 of 28
           Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 63 of 70
08/25/2022                              $16.15

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Other
Person    Linda Brooke
Hotel Parking




                                          Page 21 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 64 of 70




                             Page 22 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 65 of 70




                             Page 23 of 28
           Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 66 of 70
08/18/2022                                $318.24

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Lodging
Person     Monica Santiago
Hotel stay for 3 nights during Silver Linings RTC
Monitoring Visit




                                              Page 24 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 67 of 70




                             Page 25 of 28
           Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 68 of 70
08/19/2022                            $318.24

Client      Texas DFPS/HHSC
Project     Texas Foster Care Monitoring
Category Lodging
Person      Beth Mitchell
Silver Linings




                                           Page 26 of 28
Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 69 of 70




                             Page 27 of 28
           Case 2:11-cv-00084 Document 1288 Filed on 09/14/22 in TXSD Page 70 of 70
08/22/2022                                $352.17

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Lodging
Person     Catherine Morris
Holiday Inn Express Pearland for Silver Lining
Site Visit




                                                 Page 28 of 28
